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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

                             v.
                                                        Case No. 21-mj-311 (RMM)
 MATTHEW EUGENE
 LOGANBILL,

                Defendant.


                    ORDER CLARIFYING CONDITIONS OF RELEASE

        As discussed on the record at the hearing on July 23, 2021, the Court has been asked to

clarify the conditions of release applicable to Defendant as they relate to his transportation and use

of firearms in connection with his business. Accordingly, it is hereby

        ORDERED that Defendant is permitted to transport firearms between his two businesses

for the purposes of those businesses; to store firearms at his firing range in connection with that

business; and to handle firearms for the purpose of training at his firing range. He is prohibited

from transporting or handling firearms in any other manner or for any other purposes. It is further

        ORDERED that all other conditions of release previously imposed (see ECF No. 6) remain

in force.



        SO ORDERED.
                                                                              Digitally signed by
                                                                              G. Michael Harvey
                                                                              Date: 2021.07.23
July 23, 2021                                                 ______________________________
                                                                              15:59:40 -04'00'
                                                              G. Michael Harvey
                                                              United States Magistrate Judge
